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   8                         UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10   M.M.M., on behalf of his minor child,       Case No. 3:18-cv-1832-DMS
       J.M.A., et al.,
  11
  12                    Plaintiffs,
  13   v.
  14   Jefferson Beauregard Sessions, III,
       Attorney General of the United States,
  15   et al.,
  16                    Defendant.
  17
                                                   Case No. 3:18-cv-428-DMS
  18   Ms. L, et al.,
  19                                               ORDER REQUESTING
                        Plaintiff,                 RESPONSE
  20
       v.
  21
       U.S. Immigration and Customs
  22   Enforcement, et al.,
  23                    Defendant.
  24
  25
              The Court is in receipt of the emergency motion to require implementation of
  26
       the settlement agreement filed by Plaintiffs in the above-captioned cases. Defendants
  27
       shall file a response to the motion on or before October 15, 2018. Unless otherwise
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   1   ordered, the Court will take the matter under submission without oral argument.
   2         IT IS SO ORDERED.
   3    Dated: October 11, 2018
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